Case 1:09-cv-22992-UU Document 14 Entered on FLSD Docket 06/23/2010 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                     Case No.: 09-22992-Civ-Ungaro/Simonton

 GUSTAVO B. SAMPAIO,

       Plaintiff,

 v.

 NATIONAL ENTERPRISE SYSTEMS, INC.

      Defendant.
 _________________________________________/

        JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

      Pursuant to Fed. R. Civ. P. 41(a)(1)(ii) and having amicably resolved all

 matters in controversy, the parties jointly stipulate to a Dismissal with Prejudice of

 this action with each party to bear its own attorney’s fees and costs except as

 otherwise agreed by the parties.


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 By: /s/ Donald A. Yarbrough             By: /s/ Ernest H. Kohlmyer
 Donald A. Yarbrough, Esq.               Ernest H. Kohlmyer, Esq.
Case 1:09-cv-22992-UU Document 14 Entered on FLSD Docket 06/23/2010 Page 2 of 2




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 _______________________________/

                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 23, 2010,I electronically filed the
 foregoing document with the Clerk of Court using CM/ECF. I also certify that the
 foregoing document is being served this day on all counsel of record or pro se
 parties identified on the attached Service List in the manner specified, either via
 transmission of Notices of Electronic Filing generated by CM/ECF or in some
 other authorized manner for those counsel or parties who are not authorized to
 receive electronically Notices of Electronic Filing.

                                               s/Donald A. Yarbrough
                                               Donald A. Yarbrough, Esq.

                                  SERVICE LIST

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